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AO 91 (Rev. 02/09) Criminal Complaint




              United States District Court
                                                              for the
                                                    Western District of New York



                          United States of America

                                                                                   Case No. 18-MJ-1157
                                           V.




                                Tommie Rollins

                                        Defendant


                                                      CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

       1.      In or about May 2018, in the Western District of New York, the defendant, Tommie Rollins, did
knowingly, intentionally, and unlawfully possess with intent to distribute, and distribute, cocaine base, a Schedule II
controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1)and 841(b)(1)(C).

         2.       In or about June, 2018, in the Western District of New York, the defendant, Tommie Rollins, did
knowingly, intentionally, and unlawfully possess with intent to distribute, and distribute, cocaine base, a Schedule II
controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

       3.      In or about July, 2018, in the Western District of New York, the defendant, Tommie Rollins, did
knowingly, intentionally, and unlawfully possess with intent to distribute, and distribute, cocaine base, a Schedule II
controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

         This Criminal Complaint is based on these facts:
         B Continued on the attached sheet.


                                                                                      Complainant's signature
                                                                     DAVID DAVIDZIK
                                                                     SPECIAL AGENT
                                                                    DRUG ENFORCEMENT ADMINISTRATION
                                                                                      Printed name and title

Sworn to before me and signed in my presence.

Date: October A .2018                                                                 V
                                                                                    / Judge'ssigncMre
                                                                     HONORABLE JEREMIAH J. MCCARTHY
City and State: Buffalo. New York                                       UNITED STATES MAGISTRATE JUDGE
                                                                                      Printed name and title
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                                          AFFIDAVIT




STATE OF NEW YORK )
COUNTY OF ERIE    )                 SS;
CITY OF BUFFALO   )




      I, DAVID J. DAVCDZIK,Agent ofthe Customs and Border Protection Office ofAir

& Marine Operations, United States Department of Homeland Security, Buffalo, New York,

having been duly sworn, depose and state as follows:



       1.      I am an Agent with the Customs and Border Protection Office ofAir & Marine

Operations(AMO), and am currently assigned as a sworn Task Force Agent with the Drug

Enforcement Administration, and as such,I am an "investigative or law enforcement officer"

ofthe United States who is empowered by law to conduct investigations ofand to make arrests

for offenses enumerated in the Comprehensive Drug Abuse Prevention and Controlled

Substance Act of 1970, Title 21 of the United States Code(USC), as amended. As an Agent

with the DEA, your affiant is also an investigative law enforcement officer of the United

States of America within the meaning of Section 2510(7) of Title 18 United States Code

(USC). I have been employed by the Customs and Border Protection Office ofAir & Marine

Operations(AMO)since August 2009.



      2.        As part oftraining with Customs and Border Protection Office ofAir & Marine

Operations (AMO), I successfully completed formalized training at the Department of

Homeland Security Training Academy. During this training, I received detailed training.
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both academic and practical application, in the areas ofinformant handling/debriefing, drug

packaging, pricing, importation, and trafficking methods. In addition, I received both

academic and practical application training in surveillance and counter surveillance

techniques/methods. I received legal instruction in Federal drug conspiracy laws, preparing

drug affidavits, the Controlled Substances Act, Fourth Amendment Searches and Seizures,

Federal Rules of Evidence, and the execution ofsearch warrants. Based on my training and

conversations with other Special Agents and Task Force Officers of the DEA,I am familiar

with how controlled substances are cultivated, manufactured, processed, packaged,

distributed, sold, and used within the framework of drug trafficking.



       3.      I have participated in numerous investigations that have targeted violators of

Federal and State narcotics laws. I also have participated in several investigations involving

wiretaps and have reviewed taped conversations and drug records pertaining to narcotics

trafficking.   I have also participated in numerous debriefings of narcotic traffickers.

Cooperating Individuals, and Sources ofInformation.



       4.      The information contained in this Affidavit is based upon your Affiant's

personal knowledge, upon reports and information received from other law enforcement

officers and agencies, and other law enforcement activities.



       5.      As a result of working on this case with other Special Agents and Task Force

Officers of the DEA, and other law enforcement agencies, including the Evans Police

Department (EPD), I am familiar with the circumstances of the offenses described in this
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Affidavit. Your Affiant is familiar with the facts and circumstances set forth as a result of my

participation in this investigation, and review of information provided by other law

enforcement officers, including, but not limited to, evidence obtained during this

investigation, and conversations with a confidential source. My investigative experience, and

that ofother law enforcement officers participating in this investigation, serves as the basis for

the opinions and conclusions set forth herein. As it is my purpose to obtain a Criminal

Complaint for which only probable cause is required, I have not included each and every fact

learned during the investigation to date.



       6.       For the following reasons, your Affiant submits that there is probable cause to

beheve that Tommie ROLLINS, hereafter referred to as ROLLINS, did knowingly,

intentionally, and unlawfully possess with the intent to distribute, and distributed, cocaine

base, a Schedule II controUied substance, and cocaine, a Schedule II controlled substance, in

violation ofTitle 21, United States Code, Sections 841(a)(1).



                                      FACTUAL BASIS


       7.       In April of2018,DEA Buffalo Resident Office Agents,Task Force Officers and

EPD initiated an investigation into a cocaine distribution organization operating in Evans,

NY. During the course of this investigation ROLLINS was identified as a member of this

organization.



       8.       Utilizing various investigative techniques. Agents corroborated the information

provided by a confidential source (CS-1), and determined, in fact, that ROLLINS and his
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associates participated in a drug trafficking organization that is responsible for the distribution

ofcocaine and cocaine base to a network ofcustomers.




                   Confidential Source Controlled Bnv-Earlv Mav 2018


       9.      During the begirming of May,2018, members of the Southern Tier Drug Task

Force(STDTF)and DBA Buffalo Resident Office(ERG)Agents met CS-1 for the purpose of

conducting the controlled purchase of four grams of crack cocaine from ROLLINS while

under the direction and control of Officers and Agents. CS-1 advised that CS-1 would need

$400 in U.S. currency to purchase suspected crack cocaine from ROLLINS. In addition,

ROLLINS confirmed to CS-1 that CS-1 should meet ROLLINS in Silver Creek, NY for the

purchase ofthe suspected crack cocaine.



       10.     STDTF members searched CS-1 for weapons and contraband, with negative

results. CS-1 was equipped with a concealed recording device and provided with STDTF

Funds to purchase the suspected crack cocaine from ROLLINS. STDTF Officers then

observed CS-1 travel to a trailer park in Silver Creek, NY. Specifically, STDTF Officers

observed CS-1 approached a trailer located on Lot #35 to meet ROLLINS for the transaction.



       11.     Upon arriving at the above-mentioned location, CS-1 walked into the side door

ofLot #35 and into the residence. Inside the residence, CS-1 purchased approximately four

(4) grams of suspected crack cocaine from ROLLINS for $400 STDTF Funds. After the

purchase, CS-1 exited the residence and departed the area.
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       12.   Following CS-l's departure from ROLLESTS's residence, STDTF members

followed CS-1 and met CS-1 at a neutral location. Upon meeting CS-1, CS-1 turned over the

concealed recording device and approximately four (4) grams of suspected crack cocaine

purchased from ROLLINS. STDTF members searched CS-1 for weapons and contraband,

with negative results. Law Enforcement sent the seized suspected crack cocaine to the Erie

County Central Fohce Services Laboratory(CPS)for safekeeping and ancilysis. On June 20,

2018, the CPS Laboratory analyzed the suspected crack cocaine and determined it to be

approximately 2.55 grams ofcocaine base.



                   Confidential Source Controlled Bnv - Mav.2018


       13.   During the end ofMay,2018,DEA Buffalo Resident Office(BRO)Agents met

CS-1 for the purpose of conducting, while under the direction and control of Agents, a

controlled purchase of suspected crack cocaine from ROLLINS. CS-1 received a phone call

from ROLLINS asking where CS-1 was and when CS-1 was going to be able to meet up with

him. ROLLINS confirmed to CS-1 that CS-1 should meet ROLLINS at 17 Christy Street,

Silver Creek, NY for the purchase of the suspected crack cocaine. CS-1. CS-1 was equipped

with a concealed recording device and provided $800 DEA OAF (Official Advance Funds)

purchase suspected crack cocaine from ROLLINS.



       14.   Law Enforcement searched CS-1 for weapons and contraband, with negative

results. CS-1 was provided with DEA OAF Funds to purchase the suspected crack cocaine

from ROLLINS. Agents then observed CS-1 travel to 17 Christy St, Silver Creek NY.
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specifically, Agents observed CS-1 approached 17 Christy St, Silver Creek NY to meet

ROLLINS for the transaction.




       15.    Upon arriving at 17 Christy Street, Silver Creek, NY,CS-1 walked and entered

the residence. Inside the residence, CS-1 purchased approximately 4.65 grams of suspected

crack cocaine from ROLLINS for $800 DBA OAF Funds. After the purchase, CS-1 exited

the residence and was followed by ROLLINS. While outside the residence, ROLLINS stated

to the CS-1 that he wanted to find some new clients that were willing to purchase larger

amounts. After the drug-related conversation, the CS-1 departed the area.



       16.    Following CS-l's departure from 17 Christy St, Silver Creek, NY,DBA BRO

Agents followed CS-1 and met CS-1 at a neutral location. Upon Agents meeting CS-1, CS-1

turned over the concealed recording device and approximately 4.65 grams ofsuspected crack

cocaine purchased from ROLLINS. Law Bnforcement searched CS-1 for weapons and

contraband, with negative results. DBA BRO Agents sent the seized suspected crack cocaine

and sent it to the DBA Northeast Laboratory for safekeeping and analysis. On June 14,2018,

the DBA Northeast Laboratory analyzed the suspected crack cocaine and determined it to be

approximately 4.65 grams ofcocaine base.



                    Confidential Source Controlled Bnv - June. 2018


       17.    During June 7,2018,DBA Buffalo Resident Office(BRO)Agents met CS-1 for

the purpose of conducting, whUe under the direction and control of Agents, a controlled

purchase of suspected crack cocaine from ROLLINS. CS-1 received a phone call from



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ROLLINS asking where CS-1 was and when CS-1 was going to be able to meet up with him.

ROLLINS confirmed to CS-1 that CS-1 should meet ROLLINS in Fredonia, NY for the

purchase ofthe crack cocaine. Agents equipped CS-1 with a concealed audio recording device

and provided CS-1 with DBA OAF Funds to purchase the suspected crack cocaine from

ROLLINS. CS-1 was handed $1250 in U.S. currency to purchase eighteen (18) grams of

suspected crack cocaine firom ROLLINS. Agents then observed CS-1 travel to the pre

arranged location.



       18.    On that date, Chautauqua County Deputy Sheriff Department setup on

surveillance at 73 Cleveland St. Fredonia, NY 14063 and witnessed ROLLINS and an

unidentified female leave this location in a white 4 door Chrysler car. Southern Tier Drug

Task Force Officers then followed this vehicle to a Day's Inn located near the buy location.

ROLLINS then left the vehicle and proceeded to enter a blue Chevy Impala and drove this

vehicle to the buy location. ROLLINS then parked next to the CS-l's vehicle and waited for

CS-1 to enter his car. While in ROLLINS' vehicle, the CS-1 talked about future deals and

ROLLINS current pricing on his eight balls of crack cocaine. At this point, CS-1 handed

ROLLINS $1250 in DBA OAF Funds and in exchange, for eighteen (18) grams of crack

cocaine. After the transaction, CS-1 and ROLLINS engaged in drug-related conversation,

after which, ROLLINS departed the area.



       19.    Following CS-l's departure from the pre-arranged location, DBA BRO Agents

followed CS-1 and met CS-1 at a neutral location. Upon Agents meeting CS-1, CS-1 turned

over the concealed audio recording device and approximately 9 grams of suspected crack
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cocaine purchased from ROLLINS. Law Enforcement searched CS-1 for weapons and

contraband, with negative results.



       20.    DBA BRO Agents sent the seized suspected crack cocaine to the DEA

Northeast Laboratory for safekeeping and analysis. On July 18, 2018, the DEA Northeast

Laboratory analyzed the suspected crack cocaine and determined it to be approximately 9

grams of cocaine base.



                     Confidential Source Controlled Bnv - July 2018


       21.    During July, 2018, DEA Buffalo Resident Office(BRO)Agents met CS-1 for

the purpose of conducting, while under the direction and control of Agents, a controlled

purchase of suspected crack cocaine from ROLLINS. CS-1 received a phone call from

ROLLINS and agreed to meet the CS-1 at the comer ofYoung St. and Bailey Ave.in Buffalo,

NY,for the purchase ofthe suspected crack cocaine. Agents equipped CS-1 with a concealed

audio recording device and provided CS-1 with $1250 in DEA OAF Funds to purchase the

suspected crack cocaine from ROLLINS. CS-1 was handed $1250 in U.S. currency to

purchase eighteen(18)grams ofsuspected crack cocaine from ROLLINS. Law Enforcement

searched CS-1 for weapons and contraband, with negative results. Agents then observed CS-

1 travel to the pre-arranged location to meet ROLLINS for the transaction.



       22.    Upon arriving at the pre-arranged location, CS-1 received a phone call from

ROLLINS.ROLLINS then instructed the CS-1 to meet at 75 Wasmuth Avenue,Buffalo, NY

14211. A short time later, ROLLINS arrived at Wasmuth Avenue in a Blue Chevy Impala
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and parked in front of the residence located at 75 Wasmuth Avenue (hereinafter "Target

Residence"). The Target Residence had a covered porch and an orange motorcycle (New

York State plate#: NY85TC14)parked in front ofit. ROLLINS exited the passenger side door

of the Chevy Impala and walked into the Target Residence. A short while later, an

unidentified black male in a white t-shirt walked out ofthe Target Residence and departed on

the orange motorcycle. Shortly after, ROLLINS walked out of the Target Residence and

entered CS-l's vehicle and began to discuss future drug transaction, amounts and pricing.



       23.    A little while later, the unidentified black male returned on the orange

motorcycle and entered the Target Residence. ROLLINS told CS-1 that he had been waiting

for the unidentified black male to retum and asked the CS-1 for the money. CS-1 handed

ROLLINS $1250.00 DBA OAF funds. ROLLINS exited CS-l's vehicle and walked to the

Target Residence and entered through the front door. A short time later, ROLLINS exited

the Target Residence and walked to the CS-1's vehicle and handed CS-1 a clear bag containing

suspected eighteen(18)grams ofcrack cocaine. After the transaction, CS-1 departed the area.



       24.    Following CS-l's departure from the pre-arranged location, DBA BRO Agents

followed CS-1 and met CS-1 at a neutral location. Upon Agents meeting CS-1, CS-1 turned

over the concealed audio recording device and approximately 9 grams of suspected crack

cocaine purchased from ROLLINS. Law Fnforcement searched CS-1 for weapons and

contraband, with negative results.



       25.    DBA BRO Agents sent the seized suspected crack cocaine to the DBA

Northeast Laboratory for safekeeping and analysis. On July 19, 2018, the DBA Northeast
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Laboratory analyzed the suspected crack cocaine and determined it to be approximately 9

grams of cocaine base.



       WHEREFORE, based on the foregoing, I submit that there is probable cause to

believe that ROLLINS did kno-wingly, intentionally and unlawfully possess with the intent to

distribute, and distributed, cocaine base, a Schedule II controlled substance, in violation of

Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).




                                           DAVID J. DAVIDZIK
                                           Task Force Agent
                                           Drug Enforcement Administration


Subscribed a sworn to before me


this f,irfu day of October, 2018.



HO^^RABI^JEREMI^ J. MCCARTHY
United States Magistrate Judge




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